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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS



                                    §
In Re:     WARRICK B SADDLER        §      Case No.: 09-17791
                                    §
                                    §
                                    §
      Debtor(s)                     §
----------------------------------------------------------------------

               CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

Tom Vaughn, Chapter 13 Trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The trustee declares as
follows:

         1)    The case was filed on 05/15/2009.

         2)    This case was confirmed on 07/15/2009.

         3)    The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
07/15/2009, 08/05/2009.

         4)    The trustee filed action to remedy default by the debtor in performance under the plan on
10/06/2009.

         5)    The case was dismissed on 11/18/2009.

         6)    Number of months from filing to the last payment: 2

         7)    Number of months case was pending: 9

         8)    Total value of assets abandoned by court order: NA

         9)    Total value of assets exempted: $    21,600.00

         10)   Amount of unsecured claims discharged without payment $            .00

         11)   All checks distributed by the trustee to this case have cleared the bank.




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| Receipts:
  _________                                                                                      |
|           Total paid by or on behalf of the debtor                $
                                                                    _______________
                                                                          6,040.00               |
|           Less amount refunded to debtor                          $
                                                                    _______________
                                                                               .00               |
| NET RECEIPTS                                                             $
                                                                           _______________
                                                                                6,040.00         |
·=========================================================================                       ·

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| ___________________________
  Expenses of Administration:                                                                    |
|                                                                                                |
|           Attorney's Fees Paid through the Plan  $
                                                   ______________
                                                             .00                                 |
|           Court Costs                            $
                                                   ______________
                                                             .00                                 |
|           Trustee Expenses and Compensation      $
                                                   ______________
                                                          353.87                                 |
|           Other                                  $
                                                   ______________
                                                             .00                                 |
|                                                                                                |
| TOTAL EXPENSES OF ADMINISTRATION                       $
                                                         ______________
                                                                 353.87                          |
|                                                                                                |
| Attorney fees paid and disclosed by debtor       $
                                                   ______________
                                                        3,010.36                                 |
·=========================================================================                       ·

·=========================================================================                       ·
| ____________________
   Scheduled Creditors:                                                                          |
|                                                                                                |
| Creditor                       Claim        Claim       Claim       Principal       Int.       |
| ___________
    Name              _____
                      Class     _________
                                Scheduled  _________
                                            Asserted     _________
                                                          Allowed      ________
                                                                        Paid        ______
                                                                                     Paid        |
|                                                                                                |
|CITIFINANCIAL AUTO C SECURED    12,285.00   14,343.09     12,285.00       469.32          .00   |
|CITIFINANCIAL AUTO C UNSECURED   6,453.00           .00     2,058.09           .00        .00   |
|CONCORD SERVICING CO SECURED       500.00            NA           NA           .00        .00   |
|CONCORD SERVICING CO UNSECURED 22,710.00             NA           NA           .00        .00   |
|SUNTRUST MORTGAGE    SECURED   158,000.00  169,213.33       5,216.81    5,216.81          .00   |
|SUNTRUST MORTGAGE    UNSECURED  19,914.44            NA           NA           .00        .00   |
|SUNTRUST MORTGAGE    SECURED    28,053.00   31,978.86     32,573.86            .00        .00   |
|SUN TRUST MORTGAGE OTHER              .00            NA           NA           .00        .00   |
|CAPITAL ONE BANK     UNSECURED       7.00            NA           NA           .00        .00   |
|CITIFINANCIAL        UNSECURED   7,293.00            NA           NA           .00        .00   |
|CREDIT MANAGEMENT IN UNSECURED     279.00            NA           NA           .00        .00   |
|NICOR GAS            UNSECURED     739.00       587.28        487.28           .00        .00   |
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| ______________________________________
  Summary of Disbursements to Creditors:                                                                         |
|                                                                                                                |
|                                                        Claim          Principal        Int.                    |
|                                                        _______
                                                         Allowed        ________
                                                                         Paid            ____
                                                                                         Paid                    |
| Secured Payments:                                                                                              |
|        Mortgage Ongoing                                  5,216.81       5,216.81          .00                  |
|        Mortgage Arrearage                               32,573.86             .00         .00                  |
|        Debt Secured by Vehicle                          12,285.00          469.32         .00                  |
|        All Other Secured                              ___________
                                                                .00 ___________ .00 __________
                                                                                            .00                  |
| TOTAL SECURED:                                          50,075.67       5,686.13          .00                  |
|                                                                                                                |
| Priority Unsecured Payments:                                                                                   |
|        Domestic Support Arrearage                             .00             .00         .00                  |
|        Domestic Support Ongoing                               .00             .00         .00                  |
|        All Other Priority                             ___________
                                                                .00 ___________ .00 __________
                                                                                            .00                  |
| TOTAL PRIORITY:                                               .00             .00         .00                  |
|                                                                                                                |
| GENERAL UNSECURED PAYMENTS:                              2,545.37             .00         .00                  |
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| Disbursements:
  ______________                                                                                                 |
|                                                                                                                |
|        Expenses of Administration     $     353.87                                                             |
|        Disbursements to Creditors     $   5,686.13                                                             |
|                                                                                                                |
| TOTAL DISBURSEMENTS:                                 $    6,040.00                                             |
·=========================================================================                                       ·

        12)     The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.


Dated:       ______________
             02/22/2010                                             ________________________________________
                                                                    /s/ Tom Vaughn
                                                                    Tom Vaughn, Chapter 13 Trustee

STATEMENT       : This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R § 1320. 4(a)(2) applies.




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